     Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 1 of 13. PageID #: 1101



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION


BOLSON MATERIALS                              )              CASE NO. 5:14CV01441
INTERNATIONAL, INC.,                          )
                                              )              JUDGE JOHN R. ADAMS
               Plaintiff,                     )
                                              )
       vs.                                    )
                                              )              ORDER AND DECISION
                                              )               (Resolving Docs. 56, 74)
3D SYSTEMS CORPORATION, et al.,               )
                                              )
               Defendants.                    )



       This matter is before the Court on Defendant Village Plastics Co.’s Motion for Partial

Summary Judgment. Doc. 56. Also pending before this Court is Plaintiff’s Motion to File Sur-

Reply and Motion for Limited Discovery. Doc. 74. For the following reasons, Defendant’s

motion for partial summary judgment is GRANTED in part and DENIED in part. Plaintiff’s

motions for leave to file a sur-reply and conduct limited discovery are DENIED.

I.     FACTS AND PROCEDURAL HISTORY

       These facts are not in dispute:

       Plaintiff Bolson Materials International, Inc. (“Bolson”) is a Canadian corporation that

provides materials and applications in the field of three-dimensional printing, commonly known

as “3D” printing. Doc. 62. Defendant Village Plastics Co. (“Village Plastics”) is an Ohio

company that manufactures filament used in certain 3D printing machines. On February 4, 2008,

Bolson and Village Plastics entered into a Non-Disclosure and Non-Compete Agreement (“Non-

Compete Agreement”), in which Village Plastics agreed to provide certain filaments. Doc. 56-1

at 4; Doc. 62 at 3. Under the terms of the Non-Compete Agreement, Village Plastics agreed not

to sell certain filaments to others except when: 1) the Village Plastics customer is not an existing


                                                  1
    Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 2 of 13. PageID #: 1102



Bolson customer; and 2) the Village Plastics customer is using the product “in-house;” and 3) the

Village Plastics customer is not reselling the filament. Doc. 43-1. To terminate the agreement,

the Non-Compete specifically stated: “‘Ending the relationship’ as far as this Agreement is

concerned is defined as a period for 90 successive days without a filament order from [Bolson] to

[Village Plastics].” Doc. 43-1. Village Plastics’ obligation under the non-compete provisions

was to continue for 12 months after Bolson ended its relationship with Village Plastics.

       Village Plastics then purchased specific machines to manufacture filament for Bolson’s

needs. In order to ensure that Village Plastics could cover the cost of the new machines, the

parties executed a “Blanket Purchase Order,” whereby Bolson agreed to supply Village Plastics

an average of 500 pounds of resin per month to be extruded into filament for one year. Doc. 43-

2; Doc. 26. The Blanket Purchase Order set forth the pricing and specifications for the materials

used in manufacturing the filament. Doc. 43-2. As the parties continued doing business with

each other, Bolson would give separate purchase orders to Village Plastics for specific kinds and

quantities of filament needed, and Village Plastics would fill and ship the orders back to Bolson.

Doc. 26 at ¶26.

       In 2012, a dispute arose between the parties over allegedly contaminated filament sent to

Bolson by Village Plastics. Doc. 26 at ¶27; Doc. 26-4. During the same timeframe, Bolson

allegedly had an outstanding account with Village Plastics in the amount of $68,531.79. In order

to resolve both disputes, the parties negotiated and executed a Settlement Agreement and Release

(“Release”). Doc. 26-4. According to the terms of the Release, Village Plastics issued a $30,000

credit to Bolson’s account, leaving a balance of $38,531.79. In return, Bolson agreed to pay the

remaining account balance in full within 60 days of the Effective Date of the Release, i.e.,

November 22, 2013. Doc. 26-4.



                                                2
    Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 3 of 13. PageID #: 1103



       After the Release was executed, Village Plastics asked Bolson to sign another non-

compete agreement, which would have substituted for the original. Doc. 26 at ¶49. Village

Plastics also demanded a completed Business Credit Application with Personal Guaranty. Doc.

72 at ¶7. Bolson did not execute and deliver the documents, and likewise, it is undisputed that

Bolson never sent another purchase order to Village Plastics. Doc. 72 at ¶10.

       Bolson filed the underlying lawsuit on June 19, 2014, naming Village Plastics and its

current parent company, 3D Systems Corporation. Doc. 1. Bolson later amended its complaint

to include the following claims:

       COUNT I:       Breach of Contract – Before Release

       COUNT II:      Breach of Contract – After Release

       COUNT III:     Breach of Implied Covenant of Good Faith and Fair Dealing under the
                      Agreement

       COUNT IV: Breach of Implied Covenant of Good Faith and Fair Dealing under the
                 Release

       COUNT V:       Promissory Estoppel

       COUNT VI: Tortious Interference with Business Relations

       COUNT VII: Fraud

       COUNT VIII: Declaratory Judgment

       COUNT IX: Breach of Contract – Contamination Claim

       COUNT X:       Breach of Contract – Delay Claim

       COUNT XI: Breach of Express Warranty under R.C. 1302.26

       COUNT XII: Breach of Implied Warranty under R.C. 1302.27

       COUNT XIII: Breach of Implied Warranty of Fitness for Particular Purpose under R.C.
                   1302.28




                                               3
      Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 4 of 13. PageID #: 1104



Doc. 26. Bolson later dismissed Counts 3 and 4 of the Amended Complaint and also dismissed

Defendant 3D Systems (which dismissed Count 4). Docs. 54, 67. Village Plastics filed an

Answer to the Amended Complaint, with a Counterclaim alleging: 1) Breach of Contract –

Release; 2) Breach of Contract – Action on Account; 3) Unjust Enrichment; and 4) Declaratory

Judgment. Doc. 43.

        At the case management conference, the parties indicated a dispute over the scope of the

Release. As such, the Court ordered discovery on issues related to the Release Agreement,

including its scope.     Following the limited discovery process, Village Plastics filed the

underlying motion for partial summary judgment. After reviewing the briefing and evidence in

accordance with Fed.R.Civ.P. 56, the Court GRANTS summary judgment on Counts 5, 7, and 9

through 13, and DENIES judgment as a matter of law on Count 1. Further, the Court declares

the rights and obligations of the parties under Count 8. Therefore, the only remaining claims in

the case are Counts 1 and 2.

II.     LEGAL STANDARD

        A party seeking summary judgment must show “that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a). A

fact is material if it is one that might affect the outcome of the suit under governing law. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Determination of whether a factual issue is “genuine”

requires consideration of the applicable evidentiary burdens. Id. at 252. Further, the Court must

view a summary judgment motion “in the light most favorable to the party opposing the motion.”

U.S. v. Diebold, Inc., 369 U.S. 654, 655 (1962). The pivotal question in deciding a motion for

summary judgment is whether a reasonable fact finder could make a finding in favor of either party.

See Anderson 477 U.S. at 250 (“The inquiry performed is the threshold inquiry of determining

whether there is the need for a trial – whether, in other words, there are any genuine factual issues

                                                   4
       Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 5 of 13. PageID #: 1105



that properly can be resolved only by a finder of fact because they may reasonably be resolved in

favor of either party.”).

         The initial burden of showing the absence of any “genuine issue” belongs to the moving

party. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the moving party has satisfied its

burden of proof, the burden then shifts to the nonmoving party. The nonmoving party may not simply

rely on its pleadings, but must “produce evidence that results in a conflict of material fact to be

resolved by a jury” or other fact-finder at trial. Cox v. Kentucky Dep’t of Transp., 53 F.3d 146, 150

(6th Cir. 1995). A party opposing summary judgment must show that there are facts genuinely in

dispute, and must do so by citing to the record. Fed. R. Civ. P. 56(c)(1)(a).

III.     LEGAL ANALYSIS

         A.       Count 8: Declaratory Judgment


         For clarity and efficiency, the Court first turns to Count 8 of the Amended Complaint.

Bolson asks this Court to declare the scope of the Release and further requests the Court to hold

that Village Plastics fraudulently induced Bolson to enter into the Release on a promise of a

continuing business relationship. In the alternative, Bolson asks this Court for a finding that a

mistake occurred preventing a meeting of the minds required to form a valid contract. As such,

Bolson seeks a declaration that the Release agreement is void. In the alternative, Bolson seeks a

declaration that it is entitled to rescind the Release based on mistake. Doc. 26.


         This Court is not required to entertain an action for declaratory judgment. Am. Home

Assur. Co. v. Evans, 791 F.2d 61, 63 (6th Cir. 1986).


              In deciding whether a case is appropriate for declaratory judgment, the
              principal criteria are (1) whether the judgment would settle the controversy;
              (2) whether the declaratory action would serve a useful purpose in
              clarifying the legal relations at issue; (3) whether the declaratory remedy is


                                                    5
     Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 6 of 13. PageID #: 1106



          being used merely for the purpose of “procedural fencing” or “to provide an
          arena for a race for res judicata”; (4) whether the use of a declaratory action
          would increase friction between our federal and state courts and improperly
          encroach upon state jurisdiction; and (5) whether there is an alternative
          remedy that is better or more effective.

Id. at 63. Here, the declaratory action involves the same controversy and arguments as other

claims within the Amended Complaint. Deciding the rights of the parties and the scope of the

Release will resolve most claims asserted in the case and streamline the remaining litigation to

maximize judicial efficiency. Thus, the Court makes the following declaration.


       In analyzing the Release, the Court applies fundamental principles of contract law. To

interpret a contract, a court must look to the “plain and ordinary meaning of the language used in the

contract unless another meaning is clearly apparent from the contents of the agreement.” Triad

Realty, L.L.C. v. SVG Mgmt., L.L.C., 2014 WL 2156775 at *3, 2014 – Ohio – 2157; Delay v.

Rosenthal Collins Group, LLC, Case No. 2:07-cv-568, 2011 WL 1237629, *5 (S.D. Ohio March 29,

2011) (where a release is “ “‘plain and unambiguous’ the intent of the parties must be determined

‘through only the language employed.’”).


               1. Scope of the Release Agreement


       The Court applies these principles of contract interpretation to first determine the scope of the

Release. The agreement specifically states:


          * * *
          RECITALS

               WHEREAS, [Bolson] has purchased certain products from [Village
          Plastics], and [Village Plastics] has supplied certain products to [Bolson]….

               WHEREAS, [Bolson] has made certain allegations against [Village
          Plastics] including, without limitation, that the Products were contaminated and
          that delays in shipping the Products damaged [Bolson’s] business.



                                                  6
    Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 7 of 13. PageID #: 1107



                  WHEREAS, [Bolson’s] account with [Village Plastics] is currently past
             due in the amount of $68,531.79 (the “Account Balance”).

                  WHEREAS, without any admission of liability or fault, the Parties desire
             to resolve this matter in accordance with the terms of the Agreement and
             resolve all issues relating to the Account Balance and allegations or claims of
             [Bolson] relating to the alleged contamination delays.

                  NOW THEREFORE, in consideration of the foregoing and the
             representation, warranties, covenants and agreements contained herein, the
             parties agree as follows:

      1. Incorporation.          The above stated Recitals are incorporated herein by
         reference.

      2. Consideration.

                  A. In return for the release and covenants contained herein, and without
                     any admission of liability or fault, [Village Plastics] hereby issues a
                     $30,000 credit to [Bolson] (the “Credit”), thereby reducing [Bolson’s]
                     Account Balance to $38,531.79 (the “Remaining Account Balance”).

                  B. In return for the Credit, and without any admission of liability or
                     fault, [Bolson] hereby (i) agrees to pay the Remaining Account
                     Balance to [Village Plastics] in full within 60 days of the Effective
                     Date; and (ii) provides the release contained herein to [Village
                     Plastics].


      3. Release by BMI. Upon execution of this Agreement, and for good and
         valuable consideration, the sufficiency of which is hereby acknowledged,
         [Bolson], on behalf of itself and its successors and assigns, hereby releases and
         forever discharges [Village Plastics], and its shareholders, directors, officers,
         employees, agents,…of and from any and all claims, damages, obligations,
         losses and/or liabilities [Bolson], or its successors and assigns, has or may have
         against …[Village Plastics]… whatsoever including, without limitation,
         [Bolson’s] claims that the Products were contaminated or that delays in
         shipping the Products damaged [Bolson’s] business.

             * * *
Doc. 26-4.

       The parties have a dispute about the scope of the release language in paragraph 3. Bolson

argues that the language of the recitals (which set forth facts about a dispute over contaminated

filament) should be given effect to limit the scope of the Release to just those claims about

contaminated filament and resulting delays. Village Plastics argues that the recitals are not within

                                                   7
     Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 8 of 13. PageID #: 1108



the operative language of the agreement, and the release language itself is so broad that it covers any

claims Bolson had prior to the execution of the release, including claims for breach of contract under

the Non-Compete Agreement.


       In looking at the plain language of the Release, the recitals are incorporated into the operative

language of the agreement through paragraph 1, entitled “Incorporation.” As such, the recitals are

part of the operative language and serve to limit the scope of the release language to only those

claims relating to contaminated filament and shipping delays.


       The Court recognizes that the release language of paragraph 3, on its own, could seem to be

fairly broad. However, the language must be read within the context of the entire agreement,

including the recitals incorporated into the operative provisions. This is further highlighted when the

release language includes a reference back to the facts of the dispute by stating “…without limitation,

[Bolson’s] claims that the Products were contaminated or that delays in shipping the Products

damaged [Bolson’s] business.” Doc. 26-4. This added language serves to connect the release of

liability back to the recitals and the subject of the settlement agreement, i.e., contaminated filament,

delays, and account balances.


       The language of the Release is clear and unambiguous. The scope of the Release is limited to

the dispute over allegedly contaminated filament, shipping delays, and any claims arising out of

those events. The Release is a separate contract from the Non-Compete Agreement, leaving the Non-

Compete in full effect to the extent that the parties’ rights and obligations are not affected by the

Release.




                                                   8
     Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 9 of 13. PageID #: 1109



               2. Fraud in the Inducement


       The Court next turns to Bolson’s argument for declaratory judgment because, allegedly, it

was fraudulently induced to enter into the Release agreement based on promises of continued

business by Village Plastics. Village Plastics argues that it made no such guarantees. To determine

the parties’ rights and obligations, the Court looks to the elements of fraudulent inducement, which

are essentially the same as a claim for fraud. Onyx v. Environ’l Serv. V. Maison, 325 F.Supp.2d 833

(N.D. Ohio 2004). To maintain a claim for fraud, a party must demonstrate: 1) a representation, 2)

material to the transaction, 3) made falsely, with knowledge of its falsity, 4) with the intent to

mislead another into relying upon the false statement, 5) justifiable reliance on the representation,

and 6) resulting injury proximately caused by such reliance. Id.


       In this case, the Court need not evaluate all factors since Bolson cannot demonstrate a

genuine issue of material fact that it was injured as a proximate cause of its reliance on any promises

from Village Plastics. First, as described above, the Release did not alter or substitute for the terms

and obligations set forth in the Non-Compete Agreement. Therefore, the parties had an on-going

business relationship – despite any alleged promises from Village Plastics – at the time Bolson

executed the Release. To continue that business relationship, the Non-Compete required Bolson to

send Village Plastics a purchase order requesting filament. If Bolson failed to send a purchase order

for 90 days, then the agreement would end. While Village Plastics wanted a credit application and a

revised Non-Compete, those documents were not executed, leaving the original Non-Compete in

place. Bolson cannot maintain a claim of fraudulent inducement since the parties do not dispute that

Bolson never sent a purchase order after the execution of the Release. Bolson’s own failure to act

triggered the end of the Non-Compete and the business relationship. Doc. 72.




                                                  9
    Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 10 of 13. PageID #: 1110



               3. Mistake


       The last argument in Bolson’s claim for declaratory judgment is that it made a mistake in

believing the scope of the Release was limited to the claims surrounding the contaminated filament

and shipping delays. Doc. 26 at ¶130-35. Because the Court has already determined the scope of the

Release. This claim is moot.


       Given all of this, the Court declares that the scope of the Release is limited to claims arising

from the alleged contamination of filament and shipping delays. Further, the Release obligates

Bolson to pay Village Plastics $30,000 within 60 days of the Effective Date. There is no genuine

issue of material fact on the claim of fraudulent inducement or mistake; and therefore, the Release is

not void and is not subject to rescission. Because it is “…settled under the law of Ohio that a release

is an absolute bar to a later asserted claim encompassed in the scope of the release,” in accordance

with the findings of this Court, there is no genuine issue of material fact as Counts 9-13, since they

all assert claims related to contaminated filament or shipping delays. Waste Mgmt., Inc. v. Danis

Indus. Corp., C-3-00-256, 2004 WL 5345389, at *8 (S.D. Ohio Feb. 24, 2004). Village Plastics is

entitled to summary judgment on Counts 9-13.


       B.      COUNT 1: Breach of Contract – Before Release


       Village Plastics argues that summary judgment is appropriate on all claims related to a breach

of the Non-Compete Agreement, which arose prior to the execution of the Release. Because the

Court finds above that the scope of the Release does not address claims for violation of the Non-

Compete Agreement, there remain genuine issues of material fact on this claim. Therefore, summary

judgment is denied as to Count 1.




                                                  10
    Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 11 of 13. PageID #: 1111



       C.      COUNT 5: Promissory Estoppel


       Bolson asserts a promissory estoppel claim against Village Plastics, arguing that Village

Plastics promised to continue in a business relationship with Bolson after the execution of the

Release. Bolson argues that this promise induced them to sign the Release, and but for the assurance

of ongoing business, Bolson would not have executed the agreement.


       In Ohio, the elements of promissory estoppel require “[a] promise which the promisor

should reasonably expect to induce action or forbearance on the part of the promisee or a third

person and which does induce such action or forbearance is binding if injustice can be avoided

only by enforcement of the promise.” McCroskey v. State (1983), 8 Ohio St.3d 29, 30, 8 OBR

339, 456 N.E.2d 1204, citing Restatement of the Law, Contracts 2d (1973), Section 90. A

“plaintiff cannot invoke the doctrine of promissory estoppel on the basis of alleged promises that

contradict [a] written contract.” Kashif v. Cent. State Univ., 133 Ohio App.3d 678, 684, 729

N.E.2d 787 (Ohio App. 10 Dist.1999); see also Borowski v. State Chem. Mfg. Co., 97 Ohio

App.3d 635, 643, 647 N.E.2d 230 (1994) (“Promissory estoppel does not apply to oral

statements made prior to the written contract, where the contract covers the same subject

matter.”); and Lippert v. University of Cincinnati, 1996 WL 566012, *4 (Ohio App. 10

Dist.1996) (“While this court allows promissory estoppel claims to be argued alternatively to

breach of contract claims ... the oral agreement on which the promissory estoppel claim is based

cannot be used to alter the unambiguous written contract.”). Executone of Columbus, Inc. v.

Inter-Tel, Inc., 665 F.Supp.2d 899, 919 (S.D. Ohio 2009). Furthermore, the party who asserts

the promissory-estoppel claim bears the burden to prove by clear and convincing evidence all the

elements of the claim. In re Estate of Popov, Lawrence App. No. 02CA26, 2003-Ohio-4556,

2003 WL 22017299, at ¶ 30.

                                                11
    Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 12 of 13. PageID #: 1112



       Here, Bolson cannot demonstrate an issue of fact on the claim for promissory estoppel.

First, the argument that it entered into the Release in exchange for Village Plastics agreeing to an

ongoing business relationship touches on the very subject matter set forth in the Release.

Paragraph 2, “Consideration,” outlines the consideration Village Plastics provided in exchange

for Bolson’s release of liability. As such, an alleged oral agreement cannot alter the clear and

unambiguous terms set forth in the Release. Lippert, 1996 WL 566012 at *4. Furthermore, the

Release includes a provision stating that:


          This Agreement constitutes the complete and exclusive expression of the
          Parties’ agreement on the matters contained in this Agreement. All prior
          and contemporaneous negotiations and agreements between the parties on
          matters contained in this Agreement are expressly merged into and
          superseded by this Agreement. In entering into this Agreement, the parties
          have not relied upon any statement, representation, warranty or agreement
          of the other party except for those expressly contained in this Agreement.

Doc. 26-4 at ¶8. Any other promises or oral inducements to enter into the Release were merged

as a matter of law and should have been included in the agreement if Bolson wanted the

promises to survive.

       Next, as described above, Bolson ended the business relationship with Village Plastics by

failing to provide a purchase order for 90 days, which terminated the relationship according to

the Non-Compete. Thus, even if Village Plastics made some kind of promise of an ongoing

business relationship, and even if the promise survived the subsequent Release, Bolson cannot

demonstrate an issue of fact that Village Plastics failed to fulfill its promise since Bolson’s

actions triggered the contractual end of the relationship. Village Plastics is entitled to summary

judgment on Bolson’s claim for promissory estoppel.




                                                12
      Case: 5:14-cv-01441-JRA Doc #: 88 Filed: 09/30/16 13 of 13. PageID #: 1113



        D.     COUNT 7: Fraud

        Bolson makes a separate claim for fraud, asserting the same arguments as set forth in its

request for declaratory judgment. Because of the reasons set forth above, the Court finds that Bolson

fails to demonstrate a genuine issue of material fact on its claim for fraud, and Village Plastics is

entitled to summary judgment.

        E.     Motions for Sur-Reply and Limited Discovery

        Bolson filed a motion requesting leave to file a sur-reply and limited discovery related to

certain declarations attached to Village Plastics’ reply in support of summary judgment. The Court

does not need additional briefing to determine the issues in the motion for partial summary judgment

and therefore, denies the motion for a sur-reply. The Court also did not rely on the provisions and

declarations with which Bolson takes issue, so additional discovery is unnecessary. The motion for

limited discovery is denied.


IV.     CONCLUSION

        Based upon the reasons stated herein, this Court has resolved Count 8 by declaring the scope

of the Release and the rights and obligations of the parties under the agreement.        Further, in

accordance with the scope of the Release, and the facts presented according to Fed.R.Civ.P. 56, there

are no genuine issues of material fact as to Counts 5, 7, and 9 through 13. Thus, summary judgment

is GRANTED on these claims. However, the Court DENIES judgment as a matter of law on Count

1. As such, the only remaining claims in this case are Counts 1 and 2. Defendant Village Plastics’

motion for partial summary judgment is GRANTED in part and DENIED in part.

        IT IS SO ORDERED.


        DATE: September 30, 2016
                                                   /s/ John R. Adams_________________
                                                   Judge John R. Adams
                                                   UNITED STATES DISTRICT COURT


                                                 13
